CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 1 of 20




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      CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 2 of 20
     In re Pork Antitrust Litigation                                   Hal Singer
                                                                    June 24, 2022

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·1· · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · · · FOR THE DISTRICT OF MINNESOTA
·2

·3· · · · · Civil Action No. 0:18-cv-01776-JRT-HB

·4

·5· ·IN RE:

·6· ·PORK ANTITRUST LITIGATION,

·7· · · ·__________________________________/

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·9

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11· · · · · · · · · · · DEPOSITION OF
· · · · · · · · · · · · · HAL SINGER
12

13

14
· · · · · · · · · · Friday, June 24, 2022
15· · · · · · · · · 9:39 a.m. - 6:03 p.m.

16

17· · · · · · · · · · ·Remote Location
· · · · · · · · · ·Via Zoom Videoconference
18· · · · · · · · · · All Parties Remote

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24· · · · · · · Stenographically Reported By:
· · · · · · · · · · · ·Erica Field, FPR
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     www.LexitasLegal.com/Premier      Lexitas               888-267-1200 Page 1
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 3 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        36
·1· ·coordination that was done on an explicit

·2· ·basis, right?

·3· · · · A.· · The allegation by plaintiffs is

·4· ·that there was a price-fixing conspiracy that

·5· ·involved the sharing of competitively

·6· ·sensitive information through Agri Stats,

·7· ·and, you know, if you go into the complaint,

·8· ·they'll talk about how that agreement touched

·9· ·many aspects of the conduct of the firms at

10· ·issue and how they were able to achieve a

11· ·reduction in output in a coordinated way.

12· · · · · · · But I think that the centerpiece,

13· ·at least as I understand it and the way that

14· ·I've written up my report, is the information

15· ·exchange -- antitrust competitive information

16· ·exchange.

17· · · · Q.· · Okay.· So there was an agreement

18· ·to exchange information through Agri Stats,

19· ·right?

20· · · · A.· · Well, as alleged in the complaint.

21· ·You know, I'm loathed to tell you that there

22· ·was an agreement.· Whenever you ask me today

23· ·about whether there was an agreement, I'm

24· ·going to tell you that it is alleged.

25· · · · Q.· · Well, let's come back -- you used


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 36
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 4 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        37
·1· ·"challenged conduct" maybe dozens of times in

·2· ·your report, and I want a definition of what

·3· ·you meant by it.

·4· · · · · · · So is your -- your answer is just

·5· ·whatever happened to be in the complaint, or

·6· ·does challenged conduct actually mean

·7· ·something specific to you?

·8· · · · A.· · It means -- it means something --

·9· ·well, I don't know if those are -- it could

10· ·be both, right.· But I give you my best

11· ·understanding of the challenged conduct in

12· ·Paragraph 2.· And so I can't do any better

13· ·than that here, and I've tried to paraphrase

14· ·what's in Paragraph 2.

15· · · · · · · And that's my -- that's my

16· ·understanding of the challenged conduct.

17· ·It's a price -- an alleged price-fixing

18· ·conspiracy.

19· · · · Q.· · Well, let's step back for a

20· ·minute.

21· · · · · · · So an agreement, a conspiracy,

22· ·whatever, an exchange of information, is that

23· ·a per se violation in and of itself?

24· · · · · · · MR. RISSMAN:· Objection.· That

25· · · · calls for a legal conclusion.


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 37
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 5 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        38
·1· · · · A.· · Yeah.· I don't think that you want

·2· ·to come to me for that as to how this is

·3· ·going to be adjudicated.· I mean, I feel like

·4· ·that's ultimately going to be the Court's

·5· ·decision as to whether or not to apply the

·6· ·per se -- or rule of reason standard.

·7· ·BY MR. COLEMAN:

·8· · · · Q.· · Is -- in your mind, is everything

·9· ·you define as challenged conduct unlawful?

10· · · · · · · MR. RISSMAN:· Object to form.

11· · · · And calls for a legal conclusion.

12· · · · A.· · Right.· I don't have any opinions

13· ·with respect to what -- what is unlawful.           I

14· ·have opinions as to whether or not the

15· ·conduct was anticompetitive.· I can answer

16· ·that question, but I can't -- I can't go into

17· ·areas of law.

18· ·BY MR. COLEMAN:

19· · · · Q.· · And -- well, answer that question,

20· ·then.

21· · · · · · · Is all of the challenged conduct

22· ·anticompetitive in economic terms?

23· · · · A.· · Oh, I concluded that the

24· ·challenged conduct was anticompetitive using

25· ·both my qualitative assessment and my


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 38
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 6 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        39
·1· ·quantitative methods, yes.

·2· · · · Q.· · Does challenged conduct include

·3· ·increasing -- defendants increasing exports

·4· ·of pork products?

·5· · · · A.· · Well, if you go into the

·6· ·complaint, you will find allegations that the

·7· ·agreement implicated the defendants' decision

·8· ·making with respect to exports, and there

·9· ·were, in fact, in the record episodes of

10· ·coordination on the decision of how much to

11· ·export.

12· · · · · · · But I don't consider exporting to

13· ·be a restraint that is being challenged in

14· ·the case.· In other words, my mandate was to

15· ·remove the challenged conduct, which I

16· ·interrupted to mean the centerpiece was this

17· ·price-fixing conspiracy held together by

18· ·information exchange.

19· · · · · · · In other words, no one -- no one

20· ·said, Dr. Singer, I want you to assume that

21· ·exporting is zero in the but-for world.· No

22· ·one asked me to treat exporting as if it were

23· ·a restraint.

24· · · · · · · Now, exporting would likely fall

25· ·in the but-for world as you remove the


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 39
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 7 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        40
·1· ·challenged conduct.· But I don't consider

·2· ·exporting to be a restraint that I should

·3· ·remove when modeling the but-for world.

·4· · · · Q.· · Yeah.· So it -- just so the record

·5· ·is clear, the but-for world is the world in

·6· ·which there was no conspiracy or challenged

·7· ·conduct, right?

·8· · · · A.· · Correct.

·9· · · · Q.· · So in the but-for world, we assume

10· ·away any unlawful coordination or any

11· ·challenged conduct, right?

12· · · · A.· · That's fair.

13· · · · Q.· · And so at least as to exports, do

14· ·you have an opinion in that but-for world

15· ·whether exports would have stayed flat or

16· ·would have increased?

17· · · · A.· · So what I've -- what I've

18· ·quantified is the extent to which domestic

19· ·production would be -- would have been

20· ·greater in the but-for world absent the

21· ·challenged conduct.

22· · · · · · · What I have not done is said where

23· ·would that come from.· Would it necessarily

24· ·come from exports, or would it be new supply.

25· ·I haven't -- I haven't -- I haven't said


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 40
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 8 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        60
·1· · · · · · · MR. RISSMAN:· Objection.

·2· · · · A.· · I think the complaint alleges that

·3· ·the agreement touched the decision making

·4· ·with respect to liquidation.· But -- and I

·5· ·said -- I will say the same thing for

·6· ·liquidation that I said for exporting.

·7· · · · · · · I'm not removing liquidation in

·8· ·the but-for world.· Right.· I do not set

·9· ·liquidation to zero in the but-for world and

10· ·then solve for the price fix.· I do not set

11· ·exporting to zero in the but-for world.· It

12· ·is not a restraint along the lines of the

13· ·restraint that I have removed, which is the

14· ·sharing of competitively sensitive

15· ·information among the defendants via

16· ·Agri Stats.

17· · · · · · · So just to put a bow on this,

18· ·there will be some liquidation in the but-for

19· ·world.· There will be some exporting in the

20· ·but-for world.· It's not a restraint to be

21· ·eliminated in the but-for world when I said

22· ·about modeling the but-for world and the

23· ·challenged conduct.

24· ·BY MR. COLEMAN:

25· · · · Q.· · So how much would sows -- the sow


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 60
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 9 of 20
   In re Pork Antitrust Litigation                                   Hal Singer
                                                                  June 24, 2022

                                                                        61
·1· ·herd have been reduced in the but-for world?

·2· · · · · · · MR. RISSMAN:· I'm going to

·3· · · · instruct the witness that if he hasn't

·4· · · · formed an opinion on that, he

·5· · · · shouldn't answer.

·6· ·BY MR. COLEMAN:

·7· · · · Q.· · Let's set that as a precursor.

·8· · · · · · · Did you form an opinion on how

·9· ·much the sow herd would have been reduced in

10· ·the but-for world?

11· · · · A.· · I have not.· I've estimated, like

12· ·I said, how much more domestic supply would

13· ·have occurred in the but-for world absent the

14· ·alleged conspiracy, and I have not performed

15· ·a decomposition as to how that output

16· ·increase would be achieved.

17· · · · · · · But I think it's reasonable to

18· ·infer that it would be achieved through some

19· ·combination of the mechanisms that were

20· ·employed by the defendants to reduce domestic

21· ·output.

22· · · · Q.· · So just coming back to the basic

23· ·question as to whether or not you formed an

24· ·opinion about how much the sow herd would

25· ·have been reduced, if at all, in the but-for


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 61
                                                                                  YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 10 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                         62
·1· ·world.

·2· · · · · · · The answer is you did not form an

·3· ·opinion on that subject; is that right?

·4· · · · A.· · Well, I want the record to be very

·5· ·clear.· I estimated with -- with great

·6· ·precision, in my opinion, the extent of the

·7· ·output reduction that could be attributed to

·8· ·the challenged conduct.· I have not performed

·9· ·a decomposition of that output reduction

10· ·according to the three primary mechanisms the

11· ·defendants used to reduce domestic supply.

12· · · · · · · I have not done that.· I don't

13· ·think such a decomposition is necessary, and

14· ·I will leave it at that.

15· · · · Q.· · Well -- and I'm just a lawyer.

16· ·I'm not sure I understand what decomposition

17· ·is.· I guess what I want to know is did your

18· ·model or any opinion that you formed in this

19· ·case allow you to assess whether sow herd

20· ·reductions would have occurred in the but-for

21· ·world?

22· · · · A.· · Oh.· The model doesn't tell us

23· ·that, but I think just economic insight

24· ·analysis and review of the qualitative

25· ·record, all the institutional details, is


   www.LexitasLegal.com/Premier      Lexitas               888-267-1200 Page 62
                                                                                   YVer1f
     CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 11 of 20
     In re Pork Antitrust Litigation                                   Hal Singer
                                                                    June 24, 2022

                                                                          68
·1· ·agreed on price?

·2· · · · A.· · No, I don't know what --

·3· · · · · · · MR. RISSMAN:· Object to form.

·4· · · · A.· · I don't know what you mean by

·5· ·"agreed," but to an economist if -- if an

·6· ·information broker is exchanging

·7· ·competitively sensitive information across to

·8· ·defendants, and they utilize and rely on that

·9· ·information to effectuate a price increase

10· ·that otherwise would not have been possible,

11· ·and that is an anticompetitive price effect.

12· · · · · · · Now, if you want to call it -- I

13· ·think -- what was the word that you were

14· ·trying to use -- agreement -- you know, I'm

15· ·not offering opinions on agreements.· I'm

16· ·offering economic opinions.· I will leave it

17· ·at that.

18· ·BY MR. COLEMAN:

19· · · · Q.· · So when was the conspiracy formed?

20· · · · A.· · Well, the complaint --

21· · · · · · · MR. RISSMAN:· Object to form and

22· · · · foundation.

23· · · · A.· · The complaint -- can you give me

24· ·the question again?

25


     www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 68
                                                                                    YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 12 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                         69
·1· ·BY MR. COLEMAN:

·2· · · · Q.· · When was the conspiracy formed?

·3· · · · · · · MR. RISSMAN:· Same objection.

·4· · · · A.· · The complaint asserts that the

·5· ·conduct period began in 2009 with the release

·6· ·of certain Agri Stats reports, and so that's

·7· ·why I define the conduct variable in my model

·8· ·to begin in 2009.

·9· ·BY MR. COLEMAN:

10· · · · Q.· · And is that why you treated 2008

11· ·as a preconspiracy benchmark year?

12· · · · A.· · Yes.

13· · · · Q.· · And so you understood that 2008

14· ·predated the conspiracy?

15· · · · · · · MR. RISSMAN:· Object to form.

16· · · · And calls for a legal conclusion.

17· ·BY MR. COLEMAN:

18· · · · Q.· · Well, at least that's the

19· ·assumption.

20· · · · · · · MR. COLEMAN:· I am sorry, Josh.

21· · · · Yeah.· Go ahead.

22· · · · · · · I apologize to the court

23· · · · reporter, too.

24· · · · · · · Did you catch his objection?

25· · · · · · · THE STENOGRAPHER:· Yes.


   www.LexitasLegal.com/Premier      Lexitas               888-267-1200 Page 69
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 13 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                         70
·1· ·BY MR. COLEMAN:

·2· · · · Q.· · And so your model -- you can

·3· ·strike the previous question.

·4· · · · · · · Your model assumes that 2008 was a

·5· ·preconspiracy year, right?

·6· · · · · · · MR. RISSMAN:· Object to form.

·7· · · · A.· · The model does treat 2008 as a

·8· ·preconspiracy year.· That is correct.· And I

·9· ·recognize that I've -- there is some evidence

10· ·in the record to suggest that Agri Stats had

11· ·already begun, at least through its marketing

12· ·campaign, to -- to move -- place the wheels

13· ·in motion to form this alleged conspiracy or

14· ·this cartel.

15· · · · · · · And to the extent that any prices

16· ·in 2008, which I've considered to be an edge

17· ·year, reflect the effects of that preliminary

18· ·coordination, then my benchmark -- my clean

19· ·benchmark will naturally produce a

20· ·conservative estimate of the price effect

21· ·owing to the conspiracy.

22· ·BY MR. COLEMAN:

23· · · · Q.· · So you've mentioned that harvest

24· ·agreement was one of the mechanisms used to

25· ·reduce the domestic supply of pork.


   www.LexitasLegal.com/Premier      Lexitas               888-267-1200 Page 70
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 14 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        103
·1· ·could give you a very precise estimate of the

·2· ·duration.

·3· · · · Q.· · And you are not aware of anything

·4· ·stopping independent producers from expanding

·5· ·their sow herd in response to cutbacks by

·6· ·Smithfield or any other defendant, right?

·7· · · · · · · MR. RISSMAN:· I will instruct

·8· · · · the witness to answer to the extent he

·9· · · · has an opinion about that.

10· · · · A.· · I don't have an opinion on that.

11· ·BY MR. COLEMAN:

12· · · · Q.· · What's a gilt?

13· · · · A.· · I think we have -- it's a female

14· ·pig that has -- is not ready to deliver

15· ·piglets or something like that.

16· · · · Q.· · And do you know whether gilts are

17· ·capable of becoming sows?

18· · · · A.· · Are they incapable?

19· · · · Q.· · Capable.

20· · · · A.· · I think eventually they might be

21· ·capable, but I think that that is the word to

22· ·describe them at a certain stage of their

23· ·lives.

24· · · · Q.· · You don't know how long it takes

25· ·for a gilt to become a sow or capable of


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 103
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 15 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        104
·1· ·becoming a sow?

·2· · · · A.· · I've -- I've read that -- I've

·3· ·read that, I'm sure, in putting together the

·4· ·background section, but I can't give you that

·5· ·statistic off the top of my head.

·6· · · · Q.· · Do you know anything about

·7· ·Smithfield's inventory or Tyson's inventory

·8· ·of gilts on their farms when they liquidated

·9· ·sows?

10· · · · A.· · Sitting here, no, I can't give you

11· ·a characterization of that.

12· · · · Q.· · Do you know anything about

13· ·circovirus?

14· · · · A.· · No, I've studied other viruses.

15· ·But circa virus?

16· · · · Q.· · Circovirus?

17· · · · A.· · Oh, circovirus.· I looked at two

18· ·other viruses, but not circo, I don't think.

19· · · · Q.· · Do you know whether circovirus and

20· ·the vaccine to reduce or eliminate circovirus

21· ·had any impact on supply during the relevant

22· ·time period?

23· · · · A.· · No, but to the extent that it

24· ·affected the pig mortality rate, it would be

25· ·controlled for in my pig mortality variable,


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 104
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 16 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        105
·1· ·but I don't know enough about that virus.

·2· · · · Q.· · You understand that pig diseases

·3· ·can have significant impacts on the supply of

·4· ·hogs and ultimately the supply of pork,

·5· ·right?

·6· · · · A.· · Correct.

·7· · · · Q.· · Could you turn to Tab 62?

·8· · · · · · · MR. RISSMAN:· Give me just a

·9· · · · second because it's in the back of

10· · · · this.

11· · · · · · · MR. COLEMAN:· I had the same

12· · · · problem.· The binder is it too big.

13· · · · · · · Jacob, you could go ahead and

14· · · · call it up on the screen.

15· ·BY MR. COLEMAN:

16· · · · Q.· · Are you with me?

17· · · · A.· · Yes.

18· · · · Q.· · And what's been marked as

19· ·Exhibit 3 is a USDA report with the title

20· ·"Users Guide to USDA's LMR Hog Price

21· ·Reports," right?

22· · · · · ·(Exhibit 3 was marked for

23· · · · · ·identification.)

24· · · · A.· · Yes.

25· ·BY MR. COLEMAN:


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 105
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 17 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        247
·1· ·the -- during the conduct period.· It is

·2· ·telling us what the effect is across the

·3· ·entirety of the conduct period.· So I will

·4· ·leave it that.

·5· · · · Q.· · And can your model tell us the

·6· ·amount of overcharge in any particular time

·7· ·frame, like, say, a given month in a given

·8· ·year at any point in the time period?

·9· · · · A.· · Well, you could -- using my model,

10· ·you could go make a prediction within a

11· ·particular month if you were very interested

12· ·in a particular month for some reason.· You

13· ·could make a prediction of what the prices

14· ·would have been in the absence of the

15· ·challenged conduct, and you can compare those

16· ·prices to the actual prices, if you were so

17· ·inclined.

18· · · · · · · Now, there's no apriority reason

19· ·to do that given that the allegations are for

20· ·an alleged conspiracy that spanned from 2009

21· ·to 2018.· So number one, you wouldn't be

22· ·testing the theory of the case, the theory of

23· ·harm.

24· · · · · · · And number two, I haven't seen any

25· ·-- I'm not aware of any record evidence that


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 247
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 18 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        248
·1· ·would suggest that we should go looking for a

·2· ·structural break in January of 2010; that is,

·3· ·there's no suggestion that the information

·4· ·exchange was any more or less wholesome in

·5· ·January of 2010.

·6· · · · · · · The information exchange of

·7· ·competitively sensitive information was the

·8· ·same across the challenged conduct -- across

·9· ·the conduct period.

10· · · · Q.· · Do you know whether every

11· ·defendant subscribed to all the Agri Stats

12· ·report throughout the time period?

13· · · · A.· · I got a chart that shows you which

14· ·ones each defendant subscribed to in each

15· ·year.· But, you know, I know you want this to

16· ·be a memorization test, but I can't tell you

17· ·which boxes are checked by memory.· We can go

18· ·to the table.

19· · · · Q.· · Coming back to 151 and beta one in

20· ·that line of questioning, so does it mean --

21· ·is it your opinion that, for example, the

22· ·direct purchasers of class products paid a

23· ·12.8 percent overcharge in every month from

24· ·January of 2009 to June of 2018?

25· · · · A.· · I think that the model I've


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 248
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 19 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        249
·1· ·constructed, which constrains the parameter

·2· ·to be the same across the challenged conduct

·3· ·period -- the conduct period would suggest

·4· ·that it was the same overcharge in each

·5· ·month.· That's correct.

·6· · · · Q.· · So in each incremental month from

·7· ·January 1, 2009, through the end of the

·8· ·conspiracy period, it's your opinion that

·9· ·there was an overcharge of a specified

10· ·amount.

11· · · · · · · Here it's 12.8 percent for direct

12· ·purchasers of class products?

13· · · · A.· · I can conceive -- I think that in

14· ·reality that the inflation likely varied

15· ·slightly over time, but this model and this

16· ·specification, which constrains the parameter

17· ·to be the same across the entirety of the

18· ·conduct period, the best prediction that I

19· ·would have for your favorite month, which is

20· ·January 2010, would be the parameter is

21· ·estimated.

22· · · · Q.· · So does it mean that -- it's not

23· ·my favorite month.· I'm just picking that as

24· ·an example, just to have a point of

25· ·reference.


   www.LexitasLegal.com/Premier      Lexitas              888-267-1200 Page 249
                                                                                   YVer1f
    CASE 0:18-cv-01776-JRT-JFD Doc. 1442-38 Filed 08/24/22 Page 20 of 20
   In re Pork Antitrust Litigation                                    Hal Singer
                                                                   June 24, 2022

                                                                        250
·1· · · · · · · But is your testimony -- your

·2· ·opinion mean that regardless of the specific

·3· ·actions that defendants took, your model

·4· ·assumes that the alleged conspiracy had the

·5· ·same effect in every month?

·6· · · · A.· · No, that's not -- that's not what

·7· ·it means.· The model as constructed here is

·8· ·seeking to estimate an effect that stretched

·9· ·over the entirety of the challenged conduct

10· ·for the conduct period.· The plants are not

11· ·asserting a sequence of mini conspiracies,

12· ·you know, lasting one month apiece.

13· · · · · · · If they were, if that were the

14· ·allegation, you know, we could go out and

15· ·test for differential effects by month, but

16· ·they're not.· They're alleging a single

17· ·conspiracy that spanned the duration of the

18· ·conduct period, and I will leave it at that.

19· · · · Q.· · But the levers of the conspiracy

20· ·are multifaceted and -- whether it's exports

21· ·or sow reductions or something else?

22· · · · A.· · Or price hikes -- or price hikes,

23· ·yes.

24· · · · Q.· · Sure.· And so is it your opinion

25· ·that regardless of what levers were pulled at


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                                                                                   YVer1f
